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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                           CR NO. 21-MJ-33
PETER J. HARDING,


   Defendant.


                 JOINT MOTION TO ADJOURN STATUS CONFERENCE

        The United States, through undersigned counsel, hereby files this motion to adjourn the

status conference set for Monday, August 9, 2021, in the above-captioned matter, for a period of

approximately 60 days, until Tuesday, October 12, 2021. Defense counsel concurs in this

motion. In support of this motion, the government and counsel for defendant Peter Harding state

as follows:

        1.      A protective order governing discovery materials was entered in this case on June

3, 2021. Discovery has been provided to the defendant, which the defendant has been reviewing.

The government is diligently working on providing additional discovery to defendant pursuant to

its discovery obligations.

        2.      The parties are interested in continuing to pursue discussions regarding a possible

resolution of this matter.

        3.      The parties therefore jointly request that the August 9, 2021, date be adjourned for

approximately 60 days, until Tuesday, October 12, 2021, while the parties continue to review

and produce discovery and discuss resolution of this matter.

        4.      Counsel for the defendant has authorized the government to represent that the

defendant does not oppose the exclusion of time until the next hearing for purposes of the
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Speedy Trial Act because the ends of justice served by a continuance based on the facts stated

above outweigh the interests of the public and the defendant in a speedy trial, pursuant to 18

U.S.C. § 3161(h)(7)(A).

                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY
                                                   D.C. Bar No. 415793



Date: July 26, 2021                            By: __/s/ Jennifer Leigh Blackwell__________
                                                  Jennifer Leigh Blackwell
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                                 CERTIFICATE OF SERVICE

       On this 26th day of July, a copy of the foregoing was served on counsel of record for the
defendant via the Court’s Electronic Filing System.



                                                   /s/ Jennifer L. Blackwell
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